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                                                                    TRANSCRIPT PURCHASE ORDER
                                                                          for Third Circuit Court of Appeals

          District Court        Eastern District of Pennsylvania                                         Court of Appeals Docket No.                    _1_8_-_18_3_8~·. . , , , - - - - -
                                                                                                         District Court Docket No.                        17-cv-5137

     short Case Title League of Women Voters of PA, et al. v. Commonwealth of PA, et al.

     Date Notice of Appeal Filed by Clerk of District Court_A_p_n_·l_1_7_,_2_0_1_8_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Part I.        (To be completed by party responsible for ordering transcript)                                      NOTE: A SEPARATE FORM IS TO BE TYPED FOR
A         Check one of the following and serve ALL COPIES:                                                         EACH COURT REPORTER IN THIS CASE.
          TRANSCRIPT:
                      None                              _ _ _ Unnecessary for appeal purposes.
          _x__        Already on file in the District Court Clerk's office.
          _ _ _ This is to order a transcript of the proceedings heard on the date listed below front                                             (Court Reporter)
          (Specify on lines below.exact dJ!te of proceedings to be transcribed). If requesting only partial transcript of the proceedt11gs, specify exactly \\hat
          portion or \\hat wi1ness testimony is desired.




          If proceeding to be transcribed was a triaL also check any appropriate box below for      ia#lequ ;·qtherwise, this material will NOT be
          included in the trial transcripts.                                              , ,:d '," ,         '
          _ _ _ Voir dire                                                                 Open Statement of:,   11~ti      .               _ _ _ Opening Statement of Defendant
          _ _ _ ClosingArgumentofPlaintiff                                 ___            ClosingArgu~to                ~ .. - ••          ·  •
          _ _ _ Jury Instructions                                          ___            Sentencing Ht;,, gs=-= ..

      , FAILURE TO SPECIFY lN ADEQUATE DETAIL TIIOSB PROGE ING TO BE TRANSCRIBED OR FAILURE TO
        MAKE PROMPT SATISFACTORY FINANCIAL ARRANGEMENTS
        DISMISSAL OF TIIE APPEAL OR IMPOSITION OF SANCTIONS
                                0


B.        This is to certify th11t satisfactory fin11ncial arrangements have been completed with the court reporter for puyment of the cost of the transcnpt.
          The method of payment will be:

                CJA Form submitted to District Court Judge                                                 Motion for Transcript h11s been submitted to District Court
          _ _ _ CJA Form submitted to Court of Appeals                                                     Private Funds


Signature        Isl Matthew H. Haverstick                                                          Date                   4/19/2018

                 Matthew H. Haverstick                                                                                     Appellant Joseph B. Scarnati, Ill, "1 HisOficial Capacity As PA Sen. Pres. Pro Tern.
Print Name                                                                                          Counsel for
                 KlelnbBrd LLC, One Uberiy Place, 46th Fir., 1650 Market Street. Phila., PA 19103                          215.496.7225
Address                                                                                             Telephone

Part II. COURT REPORTER ACKNOWLEDGEMENT (To be completed by the Court Reporter and-forwarded to the Court-of
               Appeals on the same day transcript order is received.)
             Date trnnscript order               Estimated completion date; ifnot within 30 days of dute financial arrangements                                   Estim11ted number
                   received                               made motion for extension to be made to Court of Aooeals                                                     ofolll!es



                                                                   Arrangements for payment were made on

                                                                   Arrangements for payment h11ve not been made pursuant to.FRAP IO(b)


                                    .Date                                                Name of Court Report                                                            Telephone

Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN TIIE DISTRICT COURT (To be completed by court reporter
               on date of filing transcript in District. Court Notification must be forwarded to the Court of Appeals on the same date.)
                     Actual Number of P11ges                                                        Actual Number of Volumes


                                    Date                                                                                            Signature of Court Reporter
